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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

__________________________________________
                                          :
POST UNIVERSITY, INC.                     :
                                          :
      Plaintiff,                          :                  Civil Action No.: 3:21-cv-01242
                                          :
                  v.                      :                  JURY TRIAL DEMANDED
                                          :
COURSE HERO, INC.                     :                 September 17, 2021
                                          :
      Defendant.                          :
__________________________________________:


                                         COMPLAINT

       Plaintiff Post University, Inc. (“Post University” or “Post”) files this complaint against
defendant Course Hero, Inc. (“Course Hero”) and alleges the following:



                                         THE PARTIES

       1.      Plaintiff Post University is a Delaware Corporation with its principal place of
business at 800 Country Club Road, Waterbury, CT 06730.

       2.      Upon information and belief, defendant Course Hero is a Delaware Corporation
with its principal place of business at 2000 Seaport Blvd Ste 400, Redwood City, CA, 94063-
5584, United States. Upon information and belief, Course Hero does business in the State of
Connecticut.

                                JURISDICTION AND VENUE

       3.      This Court has jurisdiction over the subject matter of this Complaint pursuant to
28 U.S.C. §§ 1331, 1338(a) and (b) and 1367.




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       4.      This Court has personal jurisdiction over Course Hero by virtue of it transacting,
doing, and soliciting business in this District, committing tortious acts in this District, and
because a substantial part of the relevant events occurred in this District.

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2).



                                       POST UNIVERSITY

       6.      Post University was founded in 1890 and includes the School of Arts & Sciences,
the John P. Burke School of Public Service and Education, The Malcolm Baldridge School of
Business, and the American Sentinel College of Nursing & Health Sciences. A new School of
Continuing Higher Education has an anticipated start date of September 2021.

       7.      In March 2021, Post University acquired American Sentinel University and
SentinelU, a division of American Sentinel University. Sentinel City® is a healthcare simulation
application that is sold and marketed by SentinelU. Following the acquisition, the American
Sentinel College of Nursing & Health Sciences was formed at Post University.

       8.      Post University is a for-profit higher education institution that offers a total of 38
Degree Programs that are taught on its campus in Waterbury, CT, online, or via a hybrid of on
campus and online. The programs offered at Post University include 1 Doctorate-level Degree
Program, 11 Masters-level Degree Programs, 20 Bachelor-level Degree Programs, and 6
Associate-level Degree Programs. Post University has conferred more than 4,000 Degrees in the
past two (2) years. In addition, Post University offers 17 undergraduate-level and graduate-level
Certificate Programs.

       9.      Post University is accredited by the CT Office of Higher Education. Post
University has also been continuously accredited by the New England Commission on Higher
Education since 1972. The Accreditation Council for Business Schools and Programs has
accredited certain programs offered in The Malcolm Baldrige School of Business. The
Commission on Collegiate Nursing Education has granted Post University programmatic
accreditation for the following nursing programs: RN- BS Nursing, RN- BS Nursing/MS
Nursing, and MS Nursing. The Accreditation Commission for Education in Nursing has granted
Post University accreditation for the Doctor of Nursing Practice Program. The National

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Association for the Education of Young Children has granted programmatic accreditation for the
Associate of Science in Early Childhood Education and the Bachelor of Science in Child Studies.

       10.     Post University invests substantial resources in the creation of numerous
documents to carry out the educational Programs provided to its students. These documents
include, but are not limited to, tests and quizzes, assignments, journal prompts, interactive
assessments (e.g., tests, quizzes, assignments), interactive content, course learning materials,
non-interactive multi-media content (e.g., videos), course syllabi, lesson plans, discussion board
prompts, unit overviews and objectives, course information pages, study guides, assignment
rubrics, group work activities/assignments/prompts, instructor resources, and college success
resources.

       11.     Post University employs and/or retains the services of numerous professionals to
create content for the purpose of carrying out the education of the students. The professionals
retained include approximately 74 Faculty, 5 Assistant Deans, 2 Associate Deans, 5 Deans, 800
Adjunct Faculty, 9 Instructional Designers, 2 Multi-Media Specialists, and a Director of
Instructional Design. In addition, Subject Matter Experts are regularly retained to further ensure
quality of content during the design and/or re-design of Post University Courses.

       12.     Post University has spent millions of dollars (US) creating and maintaining high
quality content for the operation of the University and its academic programs. In addition, Post
University has been forced to spend significant resources ensuring the academic integrity of its
programs.



                                        COURSE HERO

       13.     Course Hero operates a website located at http://www.coursehero.com where
Defendant purports to offer “an online learning platform of course-specific study resources.”

       14.     Course Hero boasts that it has more than 20 million students and educators as
users and offers access to “Study Resources” and “24/7 Homework Help.” The 24/7 Homework
Help generally refers to an on-demand resource where students are able to ask tutors retained by
Course Hero for assistance with, e.g., homework problems. Upon information and belief, the
Study Resources refers to a collection of tens of millions of documents uploaded by users to the

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Course Hero site. The uploaded documents are searchable, and are categorized by School,
Textbook, Literature Title and Subject.

       15.     Course Hero purports to house documents uploaded by its users from more than
3,400 “Colleges and Grad Schools,” more than 19,700 “High Schools,” and more than 1800
“Trade Schools.” Study Resources identified as being specific to Post University are available at
the following website: https://www.coursehero.com/sitemap/schools/456-Post-University/.

       16.     The Course Hero website states that more than 23,000 documents from 189
Departments at Post University have been uploaded by Course Hero users.

       17.     Course Hero Study Resources are secured behind a paywall that requires users
who do not have an Educator Account to pay for a Course Hero subscription. In exchange for
paying for a Course Hero account, Course Hero provides limited access to the Study Resources
available on site. Course Hero prevents all other visitors to the website from viewing the
original Study Resources, as uploaded by its users.

       18.     The Course Hero website advertises the availability of two types of accounts:
Student and Educator. Non-subscribers cannot view any original documents uploaded by users.
Rather, a non-subscriber can view an alternate document created by Course Hero (i.e., a
“Preview”). A “Preview” is a derivative work, based on the original uploaded document, that is
created by Course Hero and displayed publicly to users without a subscription. The Preview
document created by Course Hero is a document in which some or all of the content from the
original version of the Study Resource, as uploaded, is altered, removed and/or hidden. Upon
information and belief, the user responsible for uploading an original document is not involved
with the creation of the Preview document.

       19.     Preview documents are not all created by Course Hero in the same manner. Upon
information and belief, the Preview documents are created by Course Hero by altering the
original document uploaded by a user in various manners and based on several factors. The
factors include, but are not necessarily limited to, the type of content contained in the original
Study Resource, the number of pages of the original Study Resource, and the number of Study
Resources the non-subscriber has recently accessed. The various manners of alteration include
blurring, placing opaque boxes or banners directly over the content, and removing entire pages.


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       20.     Referring to Exhibit 1, a screen shot of a webpage that includes a first exemplary
Preview document is shown. The Preview is identified as having the following title:
“Assignment – Weekly Newspaper – ENG110 College Writing…” Information at the top of the
webpage identifies the School (“Post University”), the Course Title (“ENG 110”), Type
(“Homework Help”), the user name of the uploader (“ElderPony1001”), and the number of pages
in the original document (“3”). The Preview document includes a first and second page. The
third page has been removed entirely. On the first page, a portion of the original text on
approximately the top half of the page is visible. A portion of the banner on the top of the page
has been altered such that it is blurred. The content of approximately the bottom half of the first
page is blurred such that the content is unreadable. Another opaque blue banner extends across
the bottom of the first page of the Preview stating, “Upload your study docs or become a Course
Hero member to access this document / Continue to access.” The content on the second page of
the document is blurred such that it is completely unreadable. An opaque blue banner extends
across the middle of the second page reiterating, “Upload your study docs or become a Course
Hero member to access this document / Continue to access.” The webpage also includes
sidebars advertising Literature Study Guides, fingernail images of documents that “Students who
viewed this also studied”, and three (3) testimonials from university students that are also
identified as Course Hero Interns. Two additional banners, one black and one blue, advertising
Course Hero’s Tutoring services are also provided. A pink box in the upper right of the page
reads, “View full document.”

       21.     Referring to Exhibit 2, a screen shot of a webpage with a second exemplary
Preview document displayed is shown. The second Preview is identified as having the following
title: “ENG110 – Course Syllabus – ENG110 u2013 College…” Information at the top of the
webpage identifies the School (“Post University”), the Course Title (“ENG 110”), the user name
of the uploader (“student325131”), and the number of pages in the original document (“4”). The
second Preview document includes a first and second page. The third and fourth pages have
been removed entirely. On the first page, the banner on the top of the page has been blurred.
The original text in the middle portion of the first page is visible. Another opaque blue banner
extends across the bottom of the first page of the Preview stating, “Upload your study docs or
become a Course Hero member to access this document / Continue to access.” The content on
the second page of the document is blurred such that it is completely unreadable. An opaque

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blue banner extends across the middle of the second page reiterating, “Upload your study docs or
become a Course Hero member to access this document / Continue to access.” The webpage
also includes sidebars advertising Literature Study Guides, fingernail images of documents that
“Students who viewed this also studied”, and three (3) testimonials from university students that
are also identified as Course Hero Interns. Two additional banners, one black and one blue,
advertising Course Hero’s Tutoring services are also provided. A pink box in the upper right of
the page reads, “View full document.”

       22.     Referring to Exhibit 3, a screen shot of a webpage with a third exemplary Preview
document displayed is shown. The third Preview is identified as having the following title:
“CHS111_Assignment_Research_Paper_10-01-10[1] – CHS111…” Information at the top of
the webpage identifies the School (“Post University”), the Course Title (“CHS 111”), the user
name of the uploader (“griv921”), the number of pages in the original document (“6”), and the
Ratings (indicating that “50% (2)” have rated the document a thumb’s up). The third Preview
document includes a first, second and third page. The fourth, fifth and sixth pages have been
removed entirely. On the first page, the banner on the top of the page has been substantially
blurred. The remainder of the original text on first page is visible, except for an opaque blue
banner that extends across the screen. The content on the second page of the document is blurred
such that it is completely unreadable. An opaque blue banner extends across the bottom of the
second page stating, “Upload your study docs or become a Course Hero member to access this
document / Continue to access.” The content on the third page of the document is also blurred
such that it is completely unreadable. An opaque blue banner extends across the middle of the
third page reiterating, “Upload your study docs or become a Course Hero member to access this
document / Continue to access.” The webpage also includes a sidebar advertising fingernail
images of documents that “Students who viewed this also studied”, and three (3) testimonials
from university students that are also identified as Course Hero Interns. A pink box in the upper
right of the page reads, “View full document.”

       23.     Referring to Exhibit 4, a screen shot of a webpage with a fourth exemplary
Preview document displayed is shown. The fourth Preview is identified as having the following
title: “Syllabus ACC 111Day.docx – ACC111 Financial Accounting…” Information at the top
of the webpage identifies the School (“Post University”), the Course Title (“ACC 111”), Type
(“Notes”), the user name of the uploader (“jiangkaiyu201609”), and the number of pages in the
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original document (“5”). The fourth Preview document includes a first, second and third page.
The fourth and fifth pages have been removed entirely. On the first page, the banner on the top
of the page has been substantially blurred. The remainder of the original text on first page is
visible. The content at the top of the second page of the document is legible; however the
remainder is blurred such that it is completely unreadable. An opaque blue banner extends
across the bottom of the second page stating, “Upload your study docs or become a Course Hero
member to access this document / Continue to access.” The content on the third page of the
document is completely removed and the page is blank, except for an opaque blue banner that
extends across the middle of the third page reiterating, “Upload your study docs or become a
Course Hero member to access this document / Continue to access.” The webpage also includes
a sidebar advertising fingernail images of documents that “Students who viewed this also
studied”, and three (3) testimonials from university students that are also identified as Course
Hero Interns. A pink box in the upper right of the page reads, “View full document.”

       24.     Referring to Exhibit 5, a screen shot of a webpage with a fifth exemplary Preview
document displayed is shown. The fifth Preview is identified as having the following title: “Unit
7 HRM201 2018 Final Exam Questions (1).docx – UNIT…” Information at the top of the
webpage identifies the School (“Post University”), the Course Title (“HRM 201”), Type (“Test
Prep”), the user name of the uploader (“LindaKKwapich”), the number of pages in the original
document (“4”), and the Ratings (indicating that “50% (2)” have rated the document a thumb’s
up). The fifth Preview document includes a first and second page. The third, and fourth pages
have been removed entirely. On the first page, the original text on first page identifying the
document as Final Exam, the number of questions in the exam, and the Directions are visible. In
addition, the first question is visible. The portion of the document directly below the first
question is covered by an opaque light blue banner that has an image of a lock and reads, “Get
answer to your question and much more”. The remainder of the text on the first page is blurred
such that it is completely unreadable. An opaque blue banner extends across the bottom of the
first page stating, “Upload your study docs or become a Course Hero member to access this
document / Continue to access.” The content on the second page of the document is blurred,
except for an opaque blue banner that extends across the middle of the second page reiterating,
“Upload your study docs or become a Course Hero member to access this document / Continue
to access.” The webpage also includes a sidebar advertising fingernail images of documents that

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“Students who viewed this also studied”, and three (3) testimonials from university students that
are also identified as Course Hero Interns. An additional blue banner advertising Course Hero’s
Tutoring services is also provided. A pink box in the upper right of the page reads, “View full
document.”

       25.     Post University has not authorized the creation, display, reproduction,
distribution, and/or sale of any of the documents shown in exemplary Previews shown in
Exhibits 1-5. Post University has also not authorized the recasting, alteration or adaptation of the
Post University documents that were performed by Course Hero to create the exemplary
Previews.

       26.     Upon information and belief, Course Hero creates and displays Preview
documents in order to entice visitors to the Course Hero website to become a member of a
subscription service, to directly compensate Course Hero when the user redeems an “Unlock”
(discussed infra.) to access the original document, and to market additional products (e.g., other
available Study Resources) and services (e.g., tutoring) offered by Course Hero.

       27.     Once a non-subscriber has viewed a preset number of Preview documents, the
modified document created and displayed by Course Hero as a Preview changes substantially.
Referring to Exhibit 6, a screen shot of a webpage with a sixth Preview document displayed is
shown. The sixth Preview is identified as having the following title: “Unit 1 – Plagiarism
Assignment.pdf – PSY101 u2013…” Information at the top of the webpage identifies the School
(“Post University”), the Course Title (“PSY 101”), the user name of the uploader
(“mommyhelps”), and the number of pages in the original document (“2”). The sixth Preview
document includes a first and second page. On the first page, the content is blurred such that is
rendered unreadable and an opaque box covering the center of the page is overlaid. The opaque
box reads, “We’re glad you enjoyed your Course Hero previews. / Subscribe for instant access /
Get instant access / Share to earn access / Contribute course-specific materials. / Share to access
/ Already on Course Hero? Log in.” On the second page, the content is blurred such that is
rendered unreadable and an opaque box identical to the opaque box on the first page covers the
center portion of the second page. The webpage also includes a sidebar advertising fingernail
images of documents that “Students who viewed this also studied”, and three (3) testimonials
from university students that are also identified as Course Hero Interns.


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       28.     Upon information and belief, additional Preview documents accessed by the same
non-subscriber are modified in a manner substantially similar to Exhibit 6. The number of
Preview documents that can be accessed prior to the type of extreme alteration between the
original uploaded document and the modified document provided as a Preview, as seen in
Exhibit 6, is approximately four (4).

       29.     Each of the Preview documents shown in Exhibits 1-6 are derived from
documents owned by Post University.

       30.     Referring to Exhibit 7, a copy of the original Study Resource downloaded from
Course Hero corresponding to the first Preview document shown in Exhibit 1 is provided. The
document includes three (3) pages, and a watermark has been added by Course Hero to the
center of the document, and the footer.

       31.     Referring to Exhibit 8, a copy of the original Study Resource downloaded from
Course Hero corresponding to the second Preview document shown in Exhibit 2 is provided.
The document includes four (4) pages, and a watermark has been added by Course Hero to the
center of the document, and the footer.

       32.     Referring to Exhibit 9, a copy of the original Study Resource downloaded from
Course Hero corresponding to the third Preview document shown in Exhibit 3 is provided. The
document includes three (3) pages, and a watermark has been added by Course Hero to the
center of the document, and the footer.

       33.     Referring to Exhibit 10, a copy of the original Study Resource downloaded from
Course Hero corresponding to the fourth Preview document shown in Exhibit 4 is provided. The
document includes three (3) pages, and a watermark has been added by Course Hero to the
center of the document, and the footer.

       34.     Referring to Exhibit 11, a copy of the original Study Resource downloaded from
Course Hero corresponding to the fifth Preview document shown in Exhibit 5 is provided. The
document includes three (3) pages, and a watermark has been added by Course Hero to the
center of the document, and the footer.

       35.     Post University has not authorized the creation, display, reproduction,
distribution, or sale of any of the documents shown in Exhibits 7-11.

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       36.     Upon information and belief, there are hundreds if not thousands of additional
Post University-owned copyrighted documents available on the Course Hero website as Study
Resources that are hidden from public view behind the Course Hero paywall.

       37.     Upon information and belief, modified versions of the above hundreds, if not
thousands of documents, are available to other members of the public as “Previews” that are
created and made visible by Course Hero.

       38.     Visitors to the Course Hero website are encouraged to register for either a Student
or an Educator account. Any member of the public can register for a Student account. Upon
information and belief, Educator accounts are available on a limited basis to current professors,
lecturers, and instructors at higher education institutions in the United States, Canada, and
Australia. Educator accounts require verification from Course Hero prior to activation.

       39.     Student accounts cost $9.95US per month. Educator accounts are free.

       40.     A Student account holder that visits the Course Hero website is also not able to
access all of the documents uploaded by other users. Rather, the account holder attempting to
access Study Resources is presented with Preview documents similar to those presented to non-
subscribers. Then, on a document-by-document basis, an account holder can elect to “Unlock”
certain original documents uploaded by the user. Upon clicking the Unlock button provided on
the Course Hero site, Course Hero then displays the original document to the user and permits
the user the download the original document. The standard number of Unlocks an account
holder is provided by Course Hero in exchange for the subscription fee is 30 per month.

       41.     Exhibit 12 is an example of a Preview document displayed to an account holder.
The example Preview document corresponds to the Preview document displayed to a visitor
without an account as reproduced in Exhibit 5. The Preview documents are substantially similar,
except the pink box in the upper right corner reads “Unlock Document” instead of “View full
document,” and the blue banner at the bottom of page one and the middle of page 2 reads,
“Unlock document with your Course Hero subscription / Unlock Document” rather than “Upload
your study docs or become a Course Hero member to access this document / Continue to
access.”




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       42.     Exhibit 13 is an example of the document as shown on Course Hero after a Study
Resource has been unlocked by an account holder. The blurring of the content in the original
document has been removed; however, yellow opaque banners have been placed over the
answers to the Exam Questions. The yellow opaque banners read, “Need the answer? / 4511
tutors online. Answers in as fast as 15 minutes. / Get it – with an explanation.” The original
Study Resource is not viewable by the user until the Study Resource has been downloaded (see
Exhibit 5). Therefore, Course Hero continues to provide a derivative work based on an original
uploaded document to account holders in some instances even after an “Unlock” has been
redeemed. Upon information and belief, the derivative work in these cases is intended to entice
account holders to use Course Hero’s other paid services (e.g., tutoring).

       43.     An active Student account holder is able to redeem an “Unlock” in exchange for
access to an original Study Resource up to 30 times per month. Once the maximum allowed
number of “Unlocks” have been used, additional “Unlocks” are available to the account holder
for an additional fee as shown in Exhibit 14. Please note that Exhibit 14 has been modified to
remove payment information details. For example, five (5) additional “Unlocks” can be
purchased for $15.00US, ten (10) additional “Unlocks” can be purchased for $25.00US, or
twenty (20) additional “Unlocks” can be purchased for $45.00US.

       44.     Account holders can also “earn” additional “Unlocks” by uploading Study
Resources. Referring to Exhibit 15, for every 10 Study Resources uploaded, an account holder
earns 5 “Unlocks.”

       45.     Upon information and belief, Course Hero has a Beta offering called the Educator
Exchange. Eligible individuals must be a current instructor in the U.S., Canada or Australia.
Users must be verified. Once verified, users are encouraged to share content and earn revenue
when students unlock the uploaded content.

       46.     Upon information and belief, there are additional documents available via the
Educator Exchange on Course Hero that consist of Post University-owned copyrighted materials
for which Course Hero is providing a financial compensation to the Educator who uploads the
document once a user redeems an Unlock in exchange for access to the original document.




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                    POST UNIVERSITY LETTERS TO COURSE HERO

       47.     Referring to Exhibit 16, Post University sent a take-down letter to Course Hero on
January 6, 2021. The letter identified sixty-four (64) instances of materials appearing on Course
Hero to which Post University was able to obtain a good faith belief were copyrighted materials
owned by Post University. In addition, Post University put Course Hero on notice that additional
copyrighted materials are highly likely to exist on their site, and that documents bearing Post
University Trademarks continue to appear on their site. A record hold notice was issued.

       48.     Referring to Exhibit 17, Course Hero replied on January 6, 2021 to the letter
shown in Exhibit 16 with a first email notifying Post University that the matter had been
assigned Ticket #1874611.

       49.     Referring to Exhibit 18, Course Hero replied a second time on January 12, 2021
with an email updating Ticket #1874611. According to the email, all identified copyrighted
documents were removed by Course Hero. However, no additional pro-active steps were taken
by Course Hero to determine if additional copyrighted materials owned by Post University
remained on the Course Hero site.

       50.     Referring to Exhibit 19, Post University sent a second take-down letter to Course
Hero on February 24, 2021. The letter identified thirty-five (35) additional instances of
copyrighted materials appearing on the Course Hero site. In addition, Post University explained
the impossibility of policing the Course Hero site due to the pay wall and subscription
requirement. In a good faith effort to avoid litigation, Post University offered to negotiate for
free access to the Study Resources for the purpose of locating copyrighted materials owned by
Post University. A record hold notice was issued again.

       51.     Referring to Exhibit 20, Course Hero replied on February 24, 2021 to the letter
shown in Exhibit 19 with an email notifying Post University that the matter had been assigned
Ticket #1971624.

       52.     Referring to Exhibit 21, Course Hero replied a second time on March 3, 2021
with an email updating Ticket #1971624. According to the email, all identified copyrighted
documents were removed by Course Hero. No additional pro-active steps were taken to




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determine if additional copyrighted materials owned by Post University remained on the Course
Hero site. Post University’s good faith offer was not addressed.



                            POST UNIVERSITY COPYRIGHTS

       53.     Post University is the owner of all documents created by faculty and staff of Post
University including, upon information and belief, thousands of documents which have
unlawfully been made available for distribution and sale on Course Hero’s website. For
exemplary purposes, Post University has obtained copyright registrations for five (5) of such
documents and intends to continue to pursue additional registrations.

       54.     Referring to Exhibit 22, the document titled “College Writing Post U Newspaper
Assignment,” was created as a work for hire in 2020. Post University owns the copyright
registered with the United States Copyright Office for Registration Number TXu 2-268-447 for
the above-identified work. A copy of the deposit material maintained by the United States
Copyright Office as part of the Registered Copyright is attached as Exhibit 23. Exhibit 22
corresponds to the document downloaded from Course Hero in Exhibit 7, as well as the
derivative work seen in the Preview document of Exhibit 1.

       55.     Referring to Exhibit 24, the document titled “ENG110 College Writing Course
Syllabus,” was created as a work for hire in 2020. Post University owns the copyright registered
with the United States Copyright Office for Registration Number TXu 2-268-438 for the above-
identified work. A copy of the deposit material maintained by the United States Copyright
Office as part of the Registered Copyright is attached as Exhibit 25. Exhibit 24 corresponds to
the document downloaded from Course Hero in Exhibit 8, as well as the derivative work seen in
the Preview document of Exhibit 2.

       56.     Referring to Exhibit 26, the document titled “Foundation of Early Childhood
Education Research Paper,” was created as a work for hire in 2018. Post University owns the
copyright registered with the United States Copyright Office for Registration Number TXu 2-
268-452 for the above-identified work. A copy of the deposit material maintained by the United
States Copyright Office as part of the Registered Copyright is attached as Exhibit 27. Exhibit 26




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corresponds to the document downloaded from Course Hero in Exhibit 9, as well as the
derivative work seen in the Preview document of Exhibit 3.

       57.     Referring to Exhibit 28, the document titled “ACC111 Financial Accounting
Course Syllabus,” was created as a work for hire in 2018. Post University owns the copyright
registered with the United States Copyright Office for Registration Number TXu 2-268-433 for
the above-identified work. A copy of the deposit material maintained by the United States
Copyright Office as part of the Registered Copyright is attached as Exhibit 29. Exhibit 28
corresponds to the document downloaded from Course Hero in Exhibit 10, as well as the
derivative work seen in the Preview document of Exhibit 4.

       58.     Referring to Exhibit 30, the document titled “HRM201 Unit 7 Final Exam,” was
created as a work for hire in 2018. Post University owns the copyright registered with the United
States Copyright Office for Registration Number TXu 2-268-434 for the above-identified work.
A copy of the deposit material maintained by the United States Copyright Office as part of the
Registered Copyright is attached as Exhibit 31. Exhibit 30 corresponds to the document
downloaded from Course Hero in Exhibit 11, as well as the derivative work seen Exhibit 13, and
the Preview documents of Exhibits 5 and 12.



                            POST UNIVERSITY TRADEMARKS

       59.     Post University owns approximately twenty-four (24) Trademarks registered with
the United States Patent and Trademark Office, at least six (6) of which are being used by Course
Hero without Post University’s authorization.

       60.     Referring to Exhibit 32, Post University owns Registration No. 3183102 in
International Class 041 for the mark “POST UNIVERSITY” for “educational services, namely,
providing instruction and training at the undergraduate, graduate, post-graduate and professional
levels, and distribution of course materials in connection therewith.”

       61.     Referring to Exhibit 33, Post University owns Registration No. 4450645 in
International Class 041 for the mark “JOHN P. BURKE SCHOOL OF PUBLIC SERVICE AND
EDUCATION” for “Educational services, namely, providing classroom and distance learning



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instruction and training at the undergraduate, graduate, and certificate program levels, including
those in the field of business.”

       62.     Referring to Exhibit 34, Post University owns Registration No. 4450646 in
International Class 041 for the mark “THE MALCOLM BALDRIDGE SCHOOL OF
BUSINESS” for “Educational services, namely, providing on-line instruction and training via a
global computer network at the undergraduate, graduate, post-graduate and professional levels,
and distribution of course materials in connection therewith.”

       63.     Referring to Exhibit 35, Post University owns Registration No. 4983552 in
International Class 041 for the mark “POST” for “Educational services, namely, providing
classroom and distance learning instruction and training at the undergraduate, graduate, and
certificate program levels, and distribution of curriculum and course material in connection
therewith; developing curriculum and course materials for educators and students for
undergraduate, graduate, and certificate program education; educational services, namely,
production of audio and video programs featuring educational lectures, classes and presentations
for podcasting and webcasting; educational services, namely, developing and disseminating
online interactive exercises in the nature of educational exams, homework assignments, course
material testing, and educational presentations in the fields of science, math, business, law,
government, health, the humanities and liberal arts studies; entertainment services, namely,
arranging and conducting college athletic competitions.”

       64.     Referring to Exhibit 36, Post University owns Registration No. 5487765 for the
mark “PU POST UNIVERSITY EST. 1890” (and design) in International Class 041 for
“Educational services, namely, providing classroom and distance learning instruction and
training at the undergraduate, graduate, and certificate program levels, and distribution of
curriculum and course material in connection therewith; developing curriculum and course
materials for educators and students for undergraduate, graduate, and certificate program
education; educational services, namely, production of audio and video programs featuring
educational lectures, classes and presentations for podcasting and webcasting; educational
services, namely, developing and disseminating online interactive exercises in the nature of
educational exams, homework assignments, course material testing, and educational
presentations in the fields of science, math, business, law, government, health, the humanities


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and liberal arts studies; entertainment services, namely, arranging and conducting college athletic
competitions.” The stylized logo design is provided below.




         65.     Referring to Exhibit 37, Post University owns Registration No. 5514937 for the
stylized mark “PU” in International Class 041 for “Educational services, namely, providing
classroom and distance learning instruction and training at the undergraduate, graduate, and
certificate program levels, and distribution of curriculum and course material in connection
therewith; developing curriculum and course materials for educators and students for
undergraduate, graduate, and certificate program education; educational services, namely,
production of audio and video programs featuring educational lectures, classes and presentations
for podcasting and webcasting; educational services, namely, developing and disseminating
online interactive exercises in the nature of educational exams, homework assignments, course
material testing, and educational presentations in the fields of science, math, business, law,
government, health, the humanities and liberal arts studies; entertainment services, namely,
arranging and conducting college athletic competitions.” The stylized logo design is provided
below.




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    POST UNIVERSITY IS UNABLE TO POLICE ITS COPYRIGHTED WORKS UNDER
      THE DIGITAL MILLENNIUM COPYRIGHT ACT (“DMCA”) (17 U.S.C. §512(f))

        66.     The DMCA, in 17 U.S.C. §512(f), imposes liability onto any person that
knowingly materially misrepresents that a material or activity is infringing.

        67.     Post University has attempted to identify all materials which are infringing.
However, Course Hero’s conduct and policies prevent Post University from verifying
infringement of many documents. Upon information and belief, it is impossible to police the
more than 23,000 documents on the Course Hero site associated with Post University due to the
access restriction placed on the documents by Course Hero and Course Hero’s alteration of the
original documents uploaded by users to the Course Hero website during the creation of
Previews. The derivative works displayed by Course Hero as “Previews” obscure the content of
original documents, making it difficult to determine all of the original content.

        68.     Upon information and belief, any ability Post University has to view and form a
good faith belief that a document on Course Hero is, in fact owned by Post University, is even
further diminished by the enhanced alteration performed by Course Hero when creating the
derivative works (see e.g., Exhibit 6) to be viewed by those who have already exceeded their
allowed number of Previews.



    COURSE HERO IS NOT ELIGIBLE FOR LIMITATION OF LIABILITY UNDER THE
                            DMCA (17 U.S.C. §512)

        69.     The DMCA, in 17 U.S.C. §512(c)(1) states that a service provider shall not be
liable for infringement of copyright by reason of material that resides on a system or network
controlled or operated by the service provider at the direction of a user.

        70.     Exhibits 1-6 and 12 are all examples of documents (i.e., “Previews”) that reside
on the Course Hero site that are created, stored, and displayed by Course Hero, and not by users
of the Course Hero site. The Preview documents are not created or uploaded by users. Course
Hero is not directed by the uploaders to modify the original document. The derivative works are
presented to users by Course Hero as an advertisement to entice visitors to the Course Hero to
either sign up for an account, to account holders to use one of the limited “Unlocks” provided

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with a subscription, and/or to market other services, such as tutoring, to users. In addition, upon
information and belief, the altered Preview documents are used in an effort to mask copyrighted
works from the copyright owners, preventing materials from being identified and removed from
the site by owners. Copyright management information is blurred, covered and/or removed from
documents, as uploaded. Therefore, Preview documents are not posted on the Course Hero site
at the direction of a user and are created under full control of Course Hero.

       71.     The DMCA, in 17 U.S.C. §512(c)(1)(A)(ii), states that a service provider shall not
be liable for infringement of copyright by reason of material that resides on a system or network
controlled or operated by the service provider at the direction of a user, provided the service
provider does not have actual knowledge of infringing activity, or is not aware of facts or
circumstances that make the existence of infringing activity apparent. Upon information and
belief, Course Hero has actual knowledge of infringing activity and/or is at least aware of facts
or circumstances that make the existence of infringing activity apparent.

       72.     Referring to Exhibits 16 and 19, Post University put Course Hero on actual notice
that infringing activity was occurring on the website, and that additional infringing activity is
likely, and is impossible to uncover due to the paywall preventing the more than 23,000 Post
University documents from being reviewed.

       73.     Course Hero’s selective treatment and organization of Study Resources on its
website demonstrates that Course Hero is at least aware of facts or circumstances that make the
existence of infringing activity apparent. In many instances, Course Hero curates and identifies
the types of documents uploaded as Study Resources by its users. For example, Exhibit 38
shows the site for Post University on Course Hero and displaying the tab for “Documents.”
Course Hero identifies at least some Study Resources under the following types: “Assessments,”
“Assignments,” “Essays,” “Homework Help,” “Lab Reports,” “Lecture Slides,” “Lesson Plans,”
“Notes,” “Reading Lists,” Rubrics,” “Syllabi,” and “Test Prep.”

       74.     It should be apparent to Course Hero that documents identified as, for example,
Assessments, Assignments, Lesson Plans, Lecture Slides, Syllabi, Rubrics and Test Prep are of
the type work product created and owned by schools, textbook companies, educators and/or
subject matter experts, not students.



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       75.     Course Hero exploits the different types of documents during the creation of the
Preview documents they create, store and display on the site. Compare Exhibits 1 and 7 to
Exhibits 5 and 11. Exhibit 1 is identified as “Homework Help” and the primary alteration to the
Preview from the Unlocked version of the Study Resource in Exhibit 7 is blurring of the content
at the top and bottom of the first page, blurring of the content on the second page and removal of
the third page. Exhibit 5 is identified as a “Test Prep” document. In addition to blurring similar
to that seen in Exhibit 1, the areas of “Test Prep” document appear to identify at least one region
where an “answer” to a “question” is located. Rather than blurring the region, a blue opaque
banner is placed across the region and an advertisement for Course Hero’s tutoring services is
provided. Upon information and belief, Course Hero is aware that certain documents uploaded
to their site are materials that have been created by schools, textbook companies, educators
and/or subject matter experts. Upon information and belief, Course Hero is aware that such
materials are copyrighted materials owned by a party other than the uploader. In light of these
“red flags”, Course Hero has opted to forego any efforts to police the site and instead obscures
the valuable material to a higher degree during the creation of the Preview document. In other
words, Course Hero seizes the opportunity to heighten their advertising efforts to sell more
subscriptions and/or services through their knowledge that valuable copyrighted information
exists in the uploaded documents.

       76.     Upon information and belief, an ordinary person that is aware that documents,
such as test materials, are being uploaded by users would undoubtedly view such documents as a
“red flag” that copyrighted materials have been uploaded and infringing activity is taking place.

       77.     The DMCA, in 17 U.S.C. §512(c)(1)(B), states that a service provider shall not be
liable for infringement of copyright by reason of material residing on a system or network
controlled or operated by the service provider at the direction of a user, provided the service
provider does not receive a financial benefit directly attributable to the infringing activity. Upon
information and belief, Course Hero does receive a financial benefit directly attributable to the
infringing activities described herein.

       78.     The Senate Report of the 105th Congress, 2d Session on the The Digital
Millennium Copyright Act of 1998 (available at
https://www.congress.gov/105/crpt/srpt190/CRPT-105srpt190.pdf) provides commentary on 17


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U.S.C. §512(c)(1)(B), as follows (see paragraph spanning pages 44-45) (emphasis added): “In
general, a service provider conducting a legitimate business would not be considered to receive a
‘financial benefit directly attributable to the infringing activity’ where the infringer makes the
same kind of payment as non-infringing users of the provider's service. Thus, receiving a one-
time set-up fee and flat periodic payments for service from a person engaging in infringing
activities would not constitute receiving a ‘financial benefit directly attributable to the infringing
activity.’ Nor is subparagraph (B) intended to cover fees based on the length of the message (per
number of bytes, for example) or by connect time. It would however, include any such fees
where the value of the service lies in providing access to infringing material.”

        79.     Upon information and belief, Course Hero is not simply a conduit for documents
uploaded by users for the benefit of other members of the public. Original uploads are
unavailable to copyright owners without a subscription to a Course Hero account. Course Hero
has monetized the process of “unlocking” original documents provided by users on a document-
by-document basis. Until a user expends one of their limited number of “Unlocks” received in
exchange for a fee, Course Hero prevents the original document from being viewed. Course
Hero distributes the original document only after a user provides Course Hero with an item of
value (i.e., an “Unlock”). The limitation of access to the original, uploaded documents prevents
copyright owners from policing the content on Course Hero’s site for infringing materials.
Therefore, in instances where a user has uploaded an infringing document, the value of the
Course Hero subscription service lies in providing access to infringing materials locked behind
the paywall that are copyrighted materials.



                                        COUNT I
                             DIRECT COPYRIGHT INFRINGEMENT

        80.     Post University incorporates by reference all the allegations set forth in ¶¶ 1-79 as
if fully set forth herein.

        81.     Post University owns Copyright Registrations for course materials, as shown in
Exhibits 23, 25, 27, 29, and 31. The copyrighted materials are original works of authorship,
embodying copyrightable subject matter, subject to the full protection of the United States



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Copyright laws. Post University is the sole and exclusive owner of all rights, title, and interest in
and to the copyrighted materials.

       82.     Upon information and belief, Course Hero is directly liable for direct copyright
infringement for at least the following two (2) reasons.

       83.     First, upon information and belief, Course Hero has created and displayed on its
website derivative works of the above copyrighted materials owned by Post University. The
derivative works are shown in at least Exhibits 1-6 and 12. The derivative works are created,
stored, and displayed by Course Hero on the Course Hero website as a “Preview” document.

       84.     Upon information and belief, the “Preview” documents are used to entice visitors
to the Course Hero website to obtain a subscription to the Course Hero service, to “unlock” the
original document that has been uploaded by a Course Hero user and/or to upsell visitors to the
site to utilize additional Course Hero products and services.

       85.     Course Hero is directly liable for copyright infringement under 17 U.S.C. §§ 106
and 501 for creating derivative works of Post University-owned copyrighted works including but
not limited to the “Previews” shown in at least Exhibits 1-6 and 12, and then reproducing,
distributing, and publicly displaying the derivative works.

       86.     Upon information and belief, Course Hero is not eligible for any limitation of
liability under the DMCA because Course Hero creates, displays, and distributes the derivative
works without the direction of a user. 17 U.S.C. § 501(c)(1)., infr

       87.     Second, upon information and belief, Course Hero has distributed, via its website,
copyrighted materials owned by Post University. Examples of copyrighted materials distributed
by Course Hero include materials shown in Exhibits 7-11. The documents are originally
uploaded by users of the Course Hero site where the documents are secured behind Course
Hero’s paywall. Course Hero retains the documents on the Course Hero site in a manner such
that the documents cannot be viewed by users until the user obtain a subscription to Course
Hero’s service and then expends an “Unlock” to obtain a copy of the original document. Once
Course Hero receives payment in the form of an “Unlock,” Course Hero permits distribution of
the original document. Therefore, Course Hero controls the distribution and display of the
documents by withholding the original document, as uploaded, until compensation (i.e., an


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“Unlock”) is received from account holders. The original uploader of the document is
uninvolved in the control of the distribution after uploading the original document to the Course
Hero site.

        88.     Course Hero is directly liable for copyright infringement under 17 U.S.C. §§ 106
and 501 for displaying and distributing Post University-owned copyrighted works that were
originally uploaded behind the to the Course Hero site by other users.

        89.     Upon information and belief, Course Hero is not eligible for any limitation of
liability under the DMCA for the distribution of the copyrighted materials because the display
and distribution of the original document takes place at the direction of Course Hero upon the
receipt of an Unlock from a user, and not at the direction of another. 17 U.S.C. § 501(c)(1). The
unauthorized acts and conduct of Course Hero constitute violations of the United States
Copyright Act, and Course Hero is acting as a direct copyright infringer pursuant to 17 U.S.C. §
101 et seq.

        90.     Course Hero’s acts of direct copyright infringement are willful, intentional and
purposeful, in disregard of and indifference to Post University’s rights.

        91.     Course Hero’s conduct has caused, is causing and, unless enjoined by this Court,
will continue to cause Post University great and irreparable injury that cannot fully be
compensated or measured in money damages. Post University has no adequate remedy at law.


                                    COUNT II
                      CONTRIBUTORY COPYRIGHT INFRINGEMENT

        92.     Post University incorporates by reference all the allegations set forth in ¶¶ 1-91 as
if fully set forth herein.

        93.     Upon information and belief, Post University copyrighted works have been and
continue to be stored, reproduced, distributed, and publicly displayed without Post University’s
authorization on Course Hero’s website.

        94.     Upon information and belief, Course Hero is contributorily liable under the
Copyright Act for such infringing acts, including for the actions of Course Hero’s users’ direct
infringement of Post University’s exclusive copyrights.


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       95.       Upon information and belief, Course Hero is not eligible for any limitation of
liability under the DMCA for the above actions for at least the following reasons: 1) Course Hero
has actual knowledge of the existence of the infringing material and/or is aware of facts or
circumstances that make infringing activity apparent (17 U.S.C. § 501(c)(1)(A)); and/or 2)
Course Hero receives a financial benefit directly attributed to the infringing activity (17 U.S.C. §
501(c)(1)(B)).

       96.       Course Hero is liable as a contributory copyright infringer. Course Hero has
actual and constructive knowledge of the infringing activity that occurs on and through their
website. Post University has made Course Hero aware of infringing activities by sending
multiple letters informing Course Hero of the existence of infringing materials, as well as the
likelihood of additional infringing materials hidden behind the Course Hero paywall.

       97.       Upon information and belief, Course Hero is aware of circumstances that make it
apparent that copyrighted materials are being uploaded to, displayed on, and distributed from the
Course Hero website. Course Hero is aware of and categorizes the various types of documents
that are being uploaded. Upon information and belief, Course Hero also selectively alters the
documents according to document type to create Previews. The types of documents uploaded
(e.g., “Assessments,” “Assignments,” “Essays,” “Homework Help,” “Lab Reports,” “Lecture
Slides,” “Lesson Plans,” “Notes,” “Reading Lists,” Rubrics,” “Syllabi,” and “Test Prep”) would,
to an ordinary individual, raise “red flags” that the materials likely to include infringing
materials.

       98.       Upon information and belief, Course Hero, despite being aware of facts that
would, to an ordinary individual, raise “red flags,” has not taken any proactive steps to remove
copyrighted materials owned by Post University within a reasonable amount of time.

       99.       Upon information and belief, Course Hero entices visitors to Unlock (i.e.,
purchase) documents containing Post University copyrighted information, encourages users to
upload documents that contain Post University copyrighted materials, and financially rewards
certain individuals who upload copyrighted works owned by Post University.

       100.      Course Hero is contributorily liable for copyright infringement under 17 U.S.C.
§§ 106 and 501 for the reproduction, storage, sale, and distribution of Post University-owned
copyrighted works that were originally uploaded to the Course Hero site by other users.

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        101.     The unauthorized acts and conduct of Course Hero constitute violations of the
United States Copyright Act, and Course Hero is acting as a contributory Copyright infringer
pursuant to 17 U.S.C. § 101 et seq.

        102.     Course Hero’s acts of contributory copyright infringement are willful, intentional,
and purposeful, in disregard of and indifference to Post University’s rights.

        103.     Course Hero’s conduct has caused, is causing and, unless enjoined by this Court,
will continue to cause Post University great and irreparable injury that cannot fully be
compensated or measured in money damages. Post University has no adequate remedy at law.


                                     COUNT III
                         VICARIOUS COPYRIGHT INFRINGEMENT


        104.     Post University incorporates by reference all the allegations set forth in ¶¶ 1-103
as if fully set forth herein.

        105.     Upon information and belief, Post University copyrighted works have been and
continues to be reproduced, distributed, and publicly displayed without Post University’s
authorization on Course Hero’s website.

        106.     Upon information and belief, Course Hero is vicariously liable under the
Copyright Act for such infringing acts, including for the actions of Course Hero’s users’ direct
infringement of Post University’s exclusive copyrights.

        107.     Upon information and belief, Course Hero is not eligible for any limitation of
liability under the DMCA for the above actions for at least the following reasons: 1) Course Hero
has actual knowledge of the existence of the infringing material and/or is aware of facts or
circumstances that make infringing activity apparent (17 U.S.C. § 501(c)(1)(A)); and/or 2)
Course Hero receives a financial benefit directly attributed to the infringing activity (17 U.S.C. §
501(c)(1)(B)).

        108.     Course Hero is liable as a vicarious copyright infringer. Course Hero has actual
and constructive knowledge of the infringing activity that occurs on and through their website.
Post University has made Course Hero aware of infringing activities by sending multiple letters



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informing Course Hero of the existence of infringing materials, as well as the likelihood of
additional infringing materials hidden behind the Course Hero paywall.

        109.     Upon information and belief, Course Hero is aware of circumstances that make it
apparent that copyrighted materials are being uploaded to, displayed on, and distributed from the
Course Hero website. Course Hero is aware of and categorizes the various types of documents
that are being uploaded. Upon information and belief, Course Hero also selectively alters the
documents according to document type to create Previews. The types of documents uploaded
(e.g., “Assessments,” “Assignments,” “Essays,” “Homework Help,” “Lab Reports,” “Lecture
Slides,” “Lesson Plans,” “Notes,” “Reading Lists,” Rubrics,” “Syllabi,” and “Test Prep”) would,
to an ordinary individual, raise “red flags” that the materials likely to include infringing
materials.

        110.     Upon information and belief, Course Hero has the right and ability to supervise
and control the infringing activity of its users, and has a direct financial interest in such activities.
Course Hero has full control over the distribution of documents via the Course Hero website.
The original uploader of infringing material does not distribute the material to other users.
Rather, the infringing materials are uploaded behind the Course Hero paywall. Course Hero
does not distribute any documents as uploaded by its users, including copyrighted documents
owned by Post University, until a Course Hero subscriber provides compensation (i.e., an
“Unlock”) in return.

        111.     Upon information and belief, Course Hero entices visitors to Unlock (i.e.,
purchase) documents containing copyrighted information, encourages users to upload documents
that contain copyrighted materials, and provides direct financial rewards to certain individuals
who upload copyrighted works.

        112.     Course Hero is vicariously liable for copyright infringement under common law
principles for at least the reproduction, storage, display, sale, and distribution Post University-
owned copyrighted works that were originally uploaded to the Course Hero site by users.

        113.     The unauthorized acts and conduct of Course Hero constitute violations of the
United States Copyright Act and common law principles, and Course Hero is acting as a
vicarious copyright infringer.


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         114.     Course Hero’s acts of vicarious copyright infringement are willful, intentional,
and purposeful, in disregard of and indifference to Post University’s rights.

         115.     Course Hero’s conduct has caused, is causing and, unless enjoined by this Court,
will continue to cause Post University great and irreparable injury that cannot fully be
compensated or measured in money damages. Post University has no adequate remedy at law.


                                       COUNT IV
                         VIOLATION OF THE DMCA – 17 USC § 1202(b)

         116.     Post incorporates by reference all the allegations set forth in ¶¶ 1-115 as if fully
set forth herein.

         117.     The DMCA, in 17, U.S.C. § 1202(b), states that no person shall, without the
authority of the copyright owner, intentionally remove or alter any copyright management
information, distribute copyright management information knowing that the copyright
management information has been removed or altered without authority of the copyright owner
or the law, or distribute copies of works knowing that copyright management information has
been removed or altered without authority of the copyright owner or the law.

         118.     Copyright management information includes but is not limited to the title and
other information identifying the work, the name of the author of the work, the name of the
Copyright owner of the work, and the terms and conditions for use of the work.

         119.     Upon information and belief, and now referring to Exhibits 1-5 and 12, Course
Hero, during the creation of “Previews” has intentionally removed and/or altered the copyright
management information of Post University copyrighted works, displayed copyright
management information knowing that the copyright management information has been removed
or altered, and/or distributed copies of works knowing that copyright management
information has been removed or altered without authority from Post University or the law.

         120.     Post University routinely places a Copyright Statement on certain content. For
example, as shown on page 2 of the document shown in Exhibit 24, a Copyright Statement is
displayed. The relevant portion of Exhibit 24 displaying the Copyright Statement is reproduced
below:



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       121.     Referring now to Exhibit 2, Course Hero has altered the Post University
Copyright Statement in the Course Hero-created Preview so that the Copyright Statement is
obstructed and/or unreadable. The relevant portion of [Exhibit 0020], which corresponds to the
same Copyright Statement shown in [Exhibit 0240] is reproduced below:




       122.     Upon information and belief, Course Hero has and continues to alter the Post
University Copyright Statement on hundreds, if not thousands, of Post University’s copyrighted
works available on Course Hero’s website.

       123.     Course Hero’s conduct, as averred herein including the modification of the
copyright management information of Post University’s copyrighted works on Course Hero’s
site, for the purpose or with the effect of directing consumers who are looking for authorized
Post University materials to Course Hero’s site, constitutes a violation of the DMCA under 17


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USC § 1202. Post University has not authorized Course Hero to remove or alter any copyright
management information from any copyrighted document owned by Post University.

         124.     Upon information and belief, the conduct of Course Hero has been and is willful
and deliberate.

         125.     Course Hero’s conduct is causing and, unless enjoined and restrained by this
Court, will continue to cause, Post University great and irreparable injury that cannot fully be
compensated in money. Post University has no adequate remedy at law.



                                        COUNT V
                                 TRADEMARK INFRINGEMENT

         126.     Post University incorporates by reference all the allegations set forth in ¶¶ 1-125
as if fully set forth herein.

         127.     Post University is the lawful owner and registrant of the Trademarks as defined
above.

         128.     Post University has continuously used the Trademarks in commerce in connection
with educational services and on its website, located on the Internet at https://post.edu/; the
Trademarks are widely known throughout the United States.

         129.     Post University has spent significant resources advertising and promoting the
Trademarks and the educational services and associated works bearing same.

         130.     As a direct result of the aforementioned use, promotion, and advertisement of the
Trademarks, Post University has built up and owns valuable goodwill symbolized by same.
Course Hero has used and continues to use, without the consent of Post University, the
Trademarks in connection with the sale, offering for sale, distribution, or advertising of goods or
services.

         131.     Course Hero’s use of the Trademarks is likely to cause confusion, to cause
mistake, and/or to deceive.

         132.     Course Hero’s conduct, as averred herein including using and reproducing the
Trademarks in commerce in connection with the sale, offering for sale, and advertising of works

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on Course Hero’s website, for the purpose or with the effect of directing consumers who are
looking for authorized Post University materials to Course Hero’s website, constitutes
infringement of the Trademarks in violation of Sections 32 and 43 of the Lanham Act, 15 U.S.C.
§§ 1114 and 1125.

        133.      Upon information and belief, the conduct of Course Hero has been and is willful
and deliberate.

        134.      Course Hero’s conduct is causing and, unless enjoined and restrained by this
Court, will continue to cause, Post University great and irreparable injury that cannot fully be
compensated in money. Post University has no adequate remedy at law.



                                     COUNT VI
                     FALSE DESIGNATION OF ORIGIN - 15 U.S.C. § 1125

        135.      Post University incorporates by reference all the allegations set forth in ¶¶ 1-134
as if fully set forth herein.

        136.      Course Hero promotes the availability of “Study Resources” specifically for Post
University and courses offered by Post University and distributes, for profit and without the
authorization of Post University, materials owned by Post University bearing Post University’s
name, branding, and trademarks.

        137.      The use of Post University’s materials and trademarks on its website is likely to
cause confusion, to cause mistake, or to deceive others as to the affiliation, connection, or
association of Course Hero with Post University, or as to the origin, sponsorship, or approval of
commercial activities with Post University in that the materials are Post University’s copyrighted
works and no sponsorship nor approval of Course Hero’s conduct has been granted by Post
University.

        138.      Course Hero’s conduct constitutes a false designation of origin in violation of 15
U.S.C. § 1125.

        139.      Upon information and belief, such conduct is willful and intentional.




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        140.     Upon information and belief, such conduct by Course Hero may be ongoing and
will continue to the irreparable damage of Post University, unless enjoined by the court, Post is
without a full and adequate remedy at law.



                              COUNT VII
       VIOLATION OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT


        141.     Post University incorporates by reference all the allegations set forth in ¶¶ 1-140
as if fully set forth herein.
        142.     Pursuant to the Connecticut Unfair Trade Practices Act (hereinafter “CUPTA”),
Conn. Gen. Stat. § 42-110a, et seq., it is unlawful to engage in unfair methods of competition and
unfair or deceptive acts or practices in the conduct of any trade or commerce.

        143.     Course Hero deceptively promotes itself as being a platform for course-specific
study resources including study guides and class notes where users may only upload content that
they have the right to upload, while in fact the Course Hero website is replete with unauthorized
and copyrighted materials owned by Post University and, upon information and belief,
unauthorized and copyrighted materials owned by many other copyright owners.

        144.     Course Hero sells access to Post University’s copyrighted materials without Post
University’s authorization and rewards Course Hero subscribers each time they upload additional
Post University materials in an effort grow Course Hero’s content library and subscriber base to
the detriment of Post University.

        145.     Many of the materials on the Course Hero platform bear Post University’s name,
registered trademarks, and branding thereby suggesting an affiliation and/or endorsement by Post
University of Course Hero’s subscription service for accessing Post University materials.

        146.     Course Hero’s website states that they rely on copyright holders and its users to
flag any alleged copyright infringement so that they may promptly investigate the incident,
protect copyrighted work, and ensure compliance with the DMCA. However, Course Hero
unfairly and deceptively impedes copyright owners like Post University from flagging any
alleged copyright infringement by restricting their access to the documents.



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       147.      Non-subscribers are given a limited number of Previews of blurred documents
before being blocked from accessing documents on the website.

       148.      A paid Student subscription or Educator account is necessary to review complete
content for identifying any alleged copyright infringement, but even then, Course Hero imposes
limits on the number of documents that can be viewed in a given month and requires acceptance
of their terms and conditions including choice of law and arbitration provisions.

       149.      Despite diligent efforts, Post University has been unable to access most of the
over 23,000 documents associated with Post University and presently available on the Course
Hero platform.

       150.      Course Hero has and will continue to benefit from the unlawful use of Post
University’s materials and intellectual property while leaving copyright owners like Post
University with no meaningful means to police and take down such materials and intellectual
property.

       151.      By engaging in the acts alleged above, Course Hero has willfully and maliciously
engaged in conduct offensive to public policy, governing statutes, common law principles, and
established concepts of fairness.

       152.      Course Hero’s willful and malicious conduct was and is immoral, unethical,
oppressive, and unscrupulous.

       153.      Course Hero’s conduct has caused and will continue to cause substantial injury to
Post and to the public interest.

       154.      Course Hero committed such acts, and continues to commit such acts, in the
conduct of trade or commerce.

       155.      Post University has suffered, and if Course Hero is not enjoined will continue to
suffer, an ascertainable loss of money or property as a result of Course Hero’s actions.

       156.      By virtue of the above conduct, Course Hero has engaged in unfair competition
and unfair or deceptive acts or practices in the conduct of trade or commerce in violation of the
Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42-110a, et seq.




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         157.     Course Hero’s continued unlawful and unfair trade practices is causing and will
cause Post University irreparable harm.

         158.     A copy of this Complaint has been mailed to the Attorney General as required by
Conn. Gen. Stat. § 42-110g(c).



                                          COUNT VIII
                                      UNJUST ENRICHMENT

         159.     Post University incorporates by reference all the allegations set forth in ¶¶ 1-158
as if fully set forth herein.

         160.     Course Hero has and continues to unlawfully use Post University’s materials, and
intellectual property, and trade on Post University’s goodwill and reputation, for its own
financial gain and has benefited therefrom at least in the form of payment from subscribers
accessing Post University’s materials.

         161.     Post University’s course information, course materials, tests, and answers that
Course Hero is disseminating were developed at great expense to Post.

         162.     Course Hero has made it impossible for Post University to review and takedown
infringing materials under the DMCA and Course Hero has not compensated Post for any of the
benefits it has received.

         163.     Course Hero’s conduct and failure to compensate Post University has been to the
detriment of Post University in the form of the lost compensation for the use of its materials and
intellectual property.

         164.     Course Hero has and continues to benefit financially while its conduct promotes
cheating, diminishes the value of Post University’s educational services, and necessitates the
development of new course materials, tests, and answers at great expense to Post University.

         165.     Course Hero has and will continue to be unjustly enriched unless enjoined by this
Court.




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                                     COUNT IX
                           COMMON LAW UNFAIR COMPETITION

        166.     Post University incorporates by reference all of the allegations set forth in ¶¶ 1 –
165 as if fully set forth herein.

        167.     Course Hero’s conduct as described above constitutes unfair competition under
common law.

        168.     Course Hero has and continues to misappropriate Post University’s documents
and labor and pass them off as their own, and trade on Post University’s name and good will, to
the detriment of Post University.

        169.     Course Hero has and continues to unfairly prevent Post University from
investigating Course Hero’s conduct due to restrictions placed on access to the documents.

        170.     Course Hero’s actions have damaged Post University and Post University has and
will continue to be irreparably harmed unless Course Hero is enjoined by this Court.



                                          JURY DEMAND

        Post University demands a trial by jury of all issues so triable.



        WHEREFORE, Post University requests judgment as follows:

        1.       For a preliminary and permanent injunction restraining Course Hero, its officers,
agents, servants and employees, and all persons in active concert or participation with Course
Hero or with any of the foregoing from posting, reproducing, preparing derivative works, and
distributing for sale or license any Post University copyrighted documents.

        2.       An order that Course Hero be directed to provide Post with a written report, and
copies, of every document on the Course Hero site associated with Post University, American
Sentinel University, SentinelU and/or Sentinel City.

        3.       An order that Course Hero be directed to file with this Court and serve on Post
University, a report, in writing and under oath, confirming the removal and destruction of all
copyrighted information.

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       4.     Awarding Post University its actual damages, Course Hero’s profits, and/or
punitive damages in an amount to be determined at trial pursuant to at least 17 U.S.C. § 50417
U.S. Code § 504, 15 U.S.C. § 1117(a), and/or Conn. Gen. Stat. § 42-110g.

       5.     Awarding Post University its reasonable attorneys’ fees and costs pursuant to at
least 17 U.S.C. § 505, 15 U.S.C. § 1117(a), and/or Conn. Gen. Stat. § 42-110g(d); and

       6.     Such other and further relief as the Court deems appropriate.



Dated: September 17, 2021                                  Respectfully submitted,

                                                           POST UNIVERSITY, INC.

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